Case 1:23-cv-03026-TOR   ECF No. 61-12   filed 03/24/23   PageID.1829 Page 1 of 7




                         Exhibit /
Case 1:23-cv-03026-TOR         ECF No. 61-12       filed 03/24/23    PageID.1830 Page 2 of 7




June 21, 2022


Robert Califf, MD
Commissioner
U.S. Food and Drug Administration
5630 Fishers Lane, Rm. 1061
Rockville, MD 20852

Re: U.S. Food and Drug Administration actions related to mifepristone

Dear Dr. Califf:

On behalf of the American College of Obstetricians and Gynecologists (ACOG), representing
more than 60,000 physicians and partners dedicated to advancing women’s health and
individuals seeking obstetric and gynecologic care, and the American Medical Association, we
write to express our appreciation for the support demonstrated by the U.S. Food and Drug
Administration (FDA) in response to the needs of individuals seeking reproductive care.
Respectfully, we request that additional actions are taken to improve access to quality women’s
health care. In anticipation of the crisis to abortion access that is expected to follow the United
States Supreme Court’s decision in the Dobbs v. Jackson Women’s Health Organization case, we
strongly urge you to prioritize the following evidence-based decisions that will increase access to
mifepristone:

   x   Reconsider the implementation of the Risk Evaluation and Mitigation Strategies (REMS)
       and Elements to Assure Safe Use (ETASU) requirements for mifepristone and ensure the
       process does not add unnecessary and unmitigated burdens for physicians, patients, and
       pharmacies; and
   x   Explicitly preempt state laws relating to mifepristone that are not evidence-based, that
       interfere with the medically necessary and appropriate use of a safe and effective drug,
       and that frustrate the FDA’s regulatory decisions relating to mifepristone, and that have
       inconsistent policies and laws restricting access to mifepristone.
Case 1:23-cv-03026-TOR          ECF No. 61-12       filed 03/24/23    PageID.1831 Page 3 of 7

                                                                                                   2



Mifepristone is Safe and Effective

Mifepristone is a safe, effective, and important component of treatment and management for
early pregnancy loss (i.e., spontaneous abortion, miscarriage, missed abortion) and induced
abortion. Mifepristone has been used by over 3 million women in the United States since FDA
approval in 2000, and robust evidence exists regarding the safety of mifepristone for medication-
induced abortion. 1,2,3,4

Early pregnancy loss is common, occurring in 10% of all clinically recognized pregnancies and
affects approximately 1 million women in the U.S. annually. 5,6 Recent evidence demonstrates
that mifepristone significantly improves the safe and effective medical management of early
pregnancy loss when taken as part of a two-medication regimen. 7,8 A 2018 randomized
controlled trial demonstrated that people who received mifepristone in addition to misoprostol
experienced increased rates of complete expulsion and required fewer procedures compared to
those who received misoprostol alone. 9 Therefore, we ask that the FDA modify the mifepristone
label indicating that mifepristone is approved for the use of miscarriage management.

As referenced in ACOG clinical guidance, the evidence supports medication abortion as a safe
and effective method of providing abortion care. 10 Barriers to accessing mifepristone do not
make care safer, are not based on medical evidence, and create barriers to patient access to
essential reproductive health care. 11, 12 Abortion care is time-sensitive: delays in care increase
risk to patients and potentially results in an abortion being completely inaccessible.13 Research
conducted during the COVID-19 pandemic demonstrates that when enforcement of the in-person
dispensing requirement for mifepristone was suspended, abortion through telehealth contact and
mailed medications was safe. 14

According to reaffirmed ACOG guidance, second-trimester abortion is safely accomplished
through medical induction or medical abortion, especially when compared with other methods. 15
Mifepristone followed in 24–48 hours by misoprostol is the most effective regimen for second-
trimester medical abortion. 16 In fact, that regimen is up to 91% successful within 24 hours of
initiation of misoprostol, and outcomes include a significantly shorter induction interval and
fewer adverse effects than misoprostol alone. 17

FDA Preemption of State Laws that Restrict Access to Mifepristone

There are currently nineteen states that require a physician to be present upon delivery of
mifepristone; two states have made it illegal to use mifepristone at earlier gestation ages than the
label allows. 18 Neither of these state restrictions are evidence-based.

Mifepristone is approved by the FDA to be used with misoprostol for medication abortion
through 70 days of gestation. 19,20 In 2016, the FDA expanded the gestational age limit from 49
to 70 days (10 weeks) to better correspond with recently published evidence. 21,22 The 2015
systematic review reported average effectiveness rates of 96.7% in the 8th week, 95.2% in the
9th week, and 93.1% in the 10th week. Subsequently, evidence-based guidelines concluded that
mifepristone followed in 24–48 hours by misoprostol is the most effective regimen for second-
Case 1:23-cv-03026-TOR          ECF No. 61-12       filed 03/24/23    PageID.1832 Page 4 of 7

                                                                                                      3


trimester medical abortion. 23 Currently, strong evidence supports the use of the mifepristone
regimen through 77 days gestation, and multi-center study published in 2022 found that many
physicians offer mifepristone up to 77 days. 24,25

Experts, including ACOG, and the growing body of scientific evidence, demonstrate that the
FDA regulations should preempt those state laws and prevent state lawmakers from imposing
restrictions that are not evidence-based, that interfere with the medically necessary and
appropriate use of a safe and effective drug, that frustrate access to necessary care and are
inconsistent with the FDA’s regulatory decisions relating to mifepristone.

Revisit or Remove the Risk Evaluation and Mitigation Strategies (REMS) and Elements to
Assure Safe Use (ETASU) Requirements for Mifepristone

Recognizing the accomplishments of the FDA in modifying the REMS for mifepristone, we
continue to urge the FDA to remove or make further changes to the REMS and ETASU
requirements to allow obstetrician–gynecologists and other physicians to deliver the highest
quality care for their patients. While the FDA updated the REMS for mifepristone in December
2021, the REMS for mifepristone still requires use of a provider agreement form, a patient
agreement form and dispensing from a pharmacy certified by the drug distributors. The agency
and manufacturers have not yet defined the pharmacy certification process; however, we are
concerned that this unnecessary hurdle could serve as a deterrent to pharmacies’ decisions to
stock and dispense mifepristone. To increase access to mifepristone, we ask that, at a minimum,
the FDA simplify the pharmacy certification process, eliminate the requirement for patients to
sign a form to get the drug, lift the requirement that prescribers acquire a certification from the
manufacturer, and evaluate adding protections for availability of mifepristone via telehealth.

Failure to Improve Access to Mifepristone Will Threaten to Exacerbate the Maternal
Mortality Crisis

The United States leads the developed world in rates of maternal mortality. In 2020, the most
recent year for which data is available, there were 23.8 deaths per 100,000 live births, up from
20.1 in 2019. 26 Alarmingly, the maternal mortality rate for Black women was 55.3 deaths per
100,000 live births, 2.9 times the rate for White women, and rates significantly increased for
both Black and Hispanic women. 27 The rising maternal mortality rates and persistent racial
disparities in maternal outcomes are unacceptable. However, without sufficient access to
abortion care, including mifepristone, these figures are certain to climb.

Current data support an association between restricted access to safe and legal abortion and
higher rates of maternal morbidity and mortality, with already vulnerable populations
experiencing the greatest burden. 28,29,30 At just 0.3 deaths per 100,000 abortions performed at or
before 8 weeks, the mortality rate associated with abortion is significantly lower than the
mortality rate associated with childbirth. 31 A lack of access to mifepristone will result in more
pregnancies, including high-risk pregnancies, which is associated with the much higher maternal
mortality rates described above. A recent study estimated a total, nationwide abortion ban would
increase pregnancy-related deaths by 7% in the first year and 21% in subsequent years, including
a 33% increase for Black people. 32
Case 1:23-cv-03026-TOR          ECF No. 61-12       filed 03/24/23    PageID.1833 Page 5 of 7

                                                                                                   4



Furthermore, research suggests that a lack of abortion access carries the risk of adverse physical
outcomes. The harm of mifepristone restrictions is also more pronounced for patients with
medical conditions for which a medication abortion may be preferable to uterine aspiration. Such
examples include uterine fibroids that significantly distort the cervical canal or uterine cavity,
congenital uterine anomalies, or introital scarring related to infibulation. 33 Patients with asthma
are candidates for medication abortion because misoprostol does not cause bronchoconstriction
and actually acts as a weak bronchodilator. 34 Carrying a pregnancy to term is also associated
with mental health conditions. A 2017 study found women who were denied abortions
experienced more symptoms of anxiety, lower self-esteem, and lower life satisfaction after one
week than their counterparts who obtained abortions. 35 Perinatal depression, which includes
major and minor depressive episodes that occur during pregnancy or in the first 12 months after
delivery, is one of the most common medical complications during pregnancy and the
postpartum period, affecting one in seven. 36 Finally, restrictions on the use of telemedicine have
a disproportionate effect on rural people’s access to abortion, who are forced to travel
substantially greater distances outside of their communities than nonrural women for care. 37



Thank you for your attention to this critical issue and your continued partnership with us. Your
commitment and dedication to advancing women’s health and individuals receiving obstetric and
gynecologic care is recognized and appreciated. Should you have any questions, please contact
Rebecca Lauer, Manager, Federal Affairs, at rlauer@acog.org.

Sincerely,




Maureen G. Phipps, MD, MPH, FACOG
Chief Executive Officer
American College of Obstetricians and Gynecologists




James L. Madara, MD
CEO, Executive Vice President
American Medical Association

cc:    The Honorable Joseph R. Biden, Jr.
       The Honorable Kamala D. Harris
Case 1:23-cv-03026-TOR              ECF No. 61-12          filed 03/24/23       PageID.1834 Page 6 of 7

                                                                                                                  5



1
  Improving Access to Mifepristone for Reproductive Health Indications. Position Statement. American College of
Obstetricians and Gynecologists. June 2018. Available at https://www.acog.org/clinical-information/policy-and-
position-statements/position-statements/2018/improving-access-to-mifepristone-for-reproductive-health-indications.
2
  Cleland K, Smith N. Aligning mifepristone regulation with evidence: Driving policy change using 15 years of
excellent safety data. Contraception. 2015;92(3):179-181. doi:10.1016/j.contraception.2015.06.016.
3
  Sixteen Years of Overregulation: Time to Unburden Mifeprex. N Engl J Med. 2017;376(8):790-794.
4
  Song LP, Tang SY, Li CL, Zhou LJGYK, Mo XT. Early medical abortion with self-administered low-dose
mifepristone in combination with misoprostol. J Obstet Gynaecol Res. 2018;44(9):1705-1711.
doi:10.1111/jog.13716.
5
  Early pregnancy loss. Practice Bulletin No. 150. American College of Obstetricians and Gynecologists. Obstet
Gynecol 2015;125:1258-67.
6
  Ventura SJ, Curtin SC, Abma JC, Henshaw SK. Estimated pregnancy rates and rates of pregnancy outcomes for
the United States, 1990-2008. Natl Vital Stat Rep 2012;60(7):1-21.
7
  Schreiber CA, Creinin MD, Atrio J, Sonalkar S, Ratcliffe SJ, Barnhart KT. Mifepristone pretreatment for the
medical management of early pregnancy loss. N Engl J Med 2018;378:2161-70.
8
  Westhoff CL. A Better medical regimen for the management of miscarriage. N Engl J Med 2018;378:2232-3.
9
  Schreiber CA , Creinin MD , Atrio J , Sonalkar S , Ratcliffe SJ , Barnhart KT . Mifepristone pretreatment for the
medical management of early pregnancy loss . N Engl J Med 2018; 378:2161-70.
10
   Medication abortion up to 70 days of gestation. ACOG Practice Bulletin No. 225. American College of
Obstetricians and Gynecologists. Obstet Gynecol 2020;136:e31–47.
11
   Grossman D, Grindlay K, Altshuler AL, Schulkin J. Induced abortion provision among a national sample of
obstetrician-gynecologists. Obstet Gynecol 2019;133:477–83.
12
   Raymond EG, Blanchard K, Blumenthal PD, Cleland K, Foster AM, Gold M, et al. Sixteen years of
overregulation: time to unburden mifeprex. Mifeprex REMS Study Group. N Engl J Med 2017;376:790–4.
13
   Joint Statement on Abortion Access During the COVID-19 Outbreak. March 18, 2020. Available at:
https://www.acog.org/news/news-releases/2020/03/joint-statement-on-abortion-access-during-the-covid-19-
outbreak.
14
   Kerestes C, Murayama S, Tyson J, Natavio M, Seamon E, Raidoo S, et al. Provision of medication abortion in
Hawai‘i during COVID-19: Practical experience with multiple care delivery models. Contraception 2021.
15
   Second-trimester abortion. Practice Bulletin No. 135. American College of Obstetricians and Gynecologists.
Obstet Gynecol 2013;121:1394–1406.
16
   Ibid.
17
   Ibid.
18
   Guttmacher Institute. Medication Abortion. Available at: https://www.guttmacher.org/state-
policy/explore/medication-abortion. Retrieved June 16, 2022.
19
   Second-trimester abortion. Practice Bulletin No. 135. American College of Obstetricians and Gynecologists.
Obstet Gynecol 2013;121:1394–406.
20
   World Health Organization. Medical management of abortion . Geneva: WHO; 2018. Available at:
https://apps.who.int/iris/bitstream/handle/10665/278968/9789241550406-eng.pdf?ua=1. Retrieved June 16, 2022.
21
   Abbas D, Chong E, Raymond EG. Outpatient medical abortion is safe and effective through 70 days gestation.
Contraception 2015;92:197–9.
22
   Chen MJ, Creinin MD. Mifepristone with buccal misoprostol for medical abortion: a systematic review. Obstet
Gynecol 2015;126:12–21.
23
   Second-trimester abortion. Practice Bulletin No. 135. American College of Obstetricians and Gynecologists.
Obstet Gynecol 2013;121:1394–406.
24
   3. Dzuba IG, Chong E, Hannum C, et al. A non-inferiority study of outpatient mifepristone-misoprostol medical
abortion at 64-70 days and 71-77 days of gestation. Contraception. 2020;101(5):302-308.
25
   Upadhyay UD, Raymond EG, Koenig LR, et al. Outcomes and Safety of History-Based Screening for Medication
Abortion: A Retrospective Multicenter Cohort Study. JAMA Intern Med. 2022;182(5):482–491.
26
   Hoyert DL. Maternal mortality rates in the United States, 2020. National Center for Health Statistics Health E-
Stats. February 23, 2022. doi: https://dx.doi.org/10.15620/cdc:113967
27
   Ibid.
28
   Addante, A.N., et al., The association between state-level abortion restrictions and maternal mortality in the
United States, 1995-2017. Contraception, 2021. 104(5): p. 496-501.
Case 1:23-cv-03026-TOR              ECF No. 61-12         filed 03/24/23       PageID.1835 Page 7 of 7

                                                                                                               6



29
   Hawkins, S.S., et al., Impact of State-Level Changes on Maternal Mortality: A Population-Based, Quasi-
Experimental Study. Am J Prev Med, 2020. 58(2): p. 165-174.
3030
     Verma, N. and S.A. Shainker, Maternal mortality, abortion access, and optimizing care in an increasingly
restrictive United States: A review of the current climate. Semin Perinatol, 2020. 44(5): p. 151269.
31
   Medicaid Coverage of Abortion. Guttmacher Institute. Medicaid Coverage of Abortion. Available at:
https://www.guttmacher.org/evidence-you-can-use/medicaid-coverage-abortion. Retrieved June 16, 2022.
32
   Stevenson, AJ. The Pregnancy-Related Mortality Impact of a Total Abortion Ban in the United States: A Research
Note on Increased Deaths Due to Remaining Pregnant. Demography. December 1, 2021; 58 (6):2019–2028. doi:
https://doi.org/10.1215/00703370-9585908.
33
   Second-trimester abortion. Practice Bulletin No. 135. American College of Obstetricians and Gynecologists.
Obstet Gynecol 2013;121:1394–406.
34
   Ibid.
35
   Biggs MA, Upadhyay UD, McCulloch CE, Foster DG. Women’s Mental Health and Well-being 5 Years After
Receiving or Being Denied an Abortion: A Prospective, Longitudinal Cohort Study. JAMA Psychiatry.
2017;74(2):169–178. https://doi:10.1001/jamapsychiatry.2016.3478.
36
   Gavin NI, Gaynes BN, Lohr KN, Meltzer-Brody S, Gartlehner G, Swinson T. Perinatal depression: a systematic
review of prevalence and incidence. Obstet Gynecol. 2005;106:1071–83.
37
   Health disparities in rural women. Committee Opinion No. 586. American College of Obstetricians and
Gynecologists. Obstet Gynecol 2014;123:384–8.
